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 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11     ANDRE LUIZ COSTA SOARES,              ) Case No. 5:21-cv-01220-ODW-JC
12                                           )
                           Petitioner,       ) JUDGMENT
13                                           )
                     v.                      )
14                                           )
       U.S. DEPARTMENT OF                    )
15     HOMELAND SECURITY,                    )
                                             )
16                                           )
                     Respondent.             )
17 ______________________________
18          Pursuant to this Court’s Order Accepting Findings, Conclusions and
19 Recommendations of United States Magistrate Judge,
20      IT IS ADJUDGED that the Petition for Writ of Habeas Corpus by a Person
21 in Federal Custody pursuant to 28 U.S.C. § 2241 and this action are dismissed
22 without prejudice.
23          IT IS SO ADJUDGED.
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25 DATED: ________________
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26                         ________________________________________
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                                              ___________________
27                         HONORABLE OTIS D. D. WRIGHT,, II
28                         UNITED  STATES  DISTRICT
                                           DISTRICT JUDGE
